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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CAZE THOMAS,

                                                   Plaintiff,
                                                                       18-CV-3691 (AJN)(RWL)
                         -against-
                                                                     CERTIFICATE OF SERVICE
FIVE STAR ELECTRIC, DEPT OF EEOC, DEPT
OF HUMAN RIGHTS, METROPOLITAN
TRANSPORTATION AUTHORITY,

                                               Defendants.

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         I hereby certify that on October 4, 2018, I served the foregoing letter upon Plaintiff pro

se by U.S.P.S. overnight express mail at the following address:


                                              Caze D. Thomas
                                            65-45 Parsons Blvd.
                                                   #1M
                                         Fresh Meadows, NY 11365

        I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       October 4, 2018

                                                            /s/Alissa S. Wright
                                                               ALISSA S. WRIGHT
                                                           Assistant Attorney General
